Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 1 of 45




                                EXHIBIT
                                    2
                                                                          1
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 2 of 45




                                                                          2
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 3 of 45




                                                                          3
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 4 of 45




                                                                          4
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 5 of 45




                                                                          5
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 6 of 45




                                                                          6
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 7 of 45




                                                                          7
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 8 of 45




                                                                          8
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 9 of 45




                                                                          9
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 10 of 45




                                                                          10
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 11 of 45




                                                                          11
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 12 of 45




                                                                          12
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 13 of 45




                                                                          13
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 14 of 45




                                                                          14
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 15 of 45




                                                                          15
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 16 of 45




                                                                          16
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 17 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 1



            Current Position:   Chief Medical Information Officer
                                Professor, Department of Medicine
                                National Jewish Health
                                Denver, CO

                                Associate Professor, Department of Medicine
                                University of Colorado
                                Aurora, CO

            Present Address:    National Jewish Health
                                1400 Jackson St., J220
                                Denver, CO 80206
                                Phone:        (303) 398-1240
                                Fax:          (303) 398-1476


    I. Academic History

        A. Education

                1991 – 1995     University of Michigan
                                College of Engineering
                                Ann Arbor, Michigan
                                BSE, Chemical Engineering

                1995 – 1999     University of Michigan
                                School of Medicine
                                Ann Arbor, Michigan
                                M.D.

                Spring 2008     BioMedical Informatics MBL/NLM Course Fellow
                                Marine Biology Laboratory, Woods Hole, MA
                                Sponsored by the National Library of Medicine
                                Certificate

                October 2009    CMIO Boot Camp
                                American Medical Informatics Association
                                Scottsdale, AZ

                2011 – 2013     National Jewish Health
                                Leadership Academy

                2003 – 2010     University of Colorado School of Public Health
                                Denver, CO
                                Coursework in partial fulfillment towards MPH degree



                                                                                       17
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 18 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 2



                                       Program.

                2010 – 2019            University of Colorado Anschutz Medical Campus
                                       Clinical Science Graduate Program
                                       Health Information Technology Track
                                       Aurora, CO
                                       Doctor of Philosophy
                                       “Performance of a Rules-Based, Electronic, Health Record-
                                       Driven Severe Asthma Case Finding Algorithm for Clinical
                                       Trial Recruitment”

        B. Board Certification

                USMLE Step 1, 2, 3        1997-2002

                Internal Medicine         2002, recertification 2013, expiration 12/31/2023

                Pulmonary Diseases        2004, recertification 2014, expiration 12/31/2024

                Critical Care Medicine    2005, recertification 2015, expiration 12/31/2025

                Clinical Informatics      2015, expiration 1/31/2025

                Colorado License          2002, expiration 4/30/2021

                DEA License               2002, expiration 7/31/2021


 II.    Professional Positions

                1999 – 2002            Internship and Residency
                                       University of Michigan Health System
                                       Ann Arbor, Michigan
                                       Internal Medicine

                2002 – 2005            Fellowship
                                       University of Colorado Health Sciences Center
                                       Denver, Colorado
                                       Pulmonary/Critical Care Medicine

                2003 – 2005            Post-Doctoral Research Fellow
                                       National Jewish Medical and Research Center
                                       Denver, Colorado

                2005 – 2006            Instructor



                                                                                              18
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 19 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 3



                                   National Jewish Medical and Research Center
                                   University of Colorado
                                   Denver, CO

                2006 – 2013        Assistant Professor
                                   National Jewish Health
                                   University of Colorado
                                   Denver, CO

                2007 – 2011        Director of Medical Informatics
                                   National Jewish Health
                                   Denver, CO

                2011 – Present     Chief Medical Information Officer
                                   National Jewish Health
                                   Denver, CO

                2013 – 2021        Associate Professor
                                   National Jewish Health
                                   Denver, CO

                2013 – Present     Associate Professor
                                   University of Colorado
                                   Denver, CO

                2021 – Present     Professor
                                   National Jewish Health
                                   Denver, CO



 III.   Academic Honors

        A. Scholarships and Fellowships

                2006 – Present     Fellow, American College of Chest Physicians


        B. Special Recognitions

                2006               Employee of the Month
                                   National Jewish Medical and Research Center
                                   Nomination by a patient

                2008               National Jewish Health Faculty Awards Program



                                                                                   19
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 20 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 4



                              Awarded, Faculty Citizen of the Year

                2008          National Jewish Health
                              Faculty Awards Program
                              Nominated, Outstanding Medicine Junior Faculty

                2013          The Breakaway Group
                              Recipient of the 2012 Promise Award
                              Awarded annually to those who best exhibit the Promise:
                              “To always leave more than we take.”

        C. Invited Lectures

                2004          First Annual Respiratory Disease Young Investigators
                              Forum
                              “Human Bronchial Epithelial Cells Augment IL-8
                              Production in Response to Mechanical Stress”
                              Washington, DC

                2005          7th Annual ACCP Leadership Development Program for
                              Academic Physicians
                              Montréal, Québec, Canada

                2006          Invited Speaker
                              28th Annual Keystone Update
                              “Obesity and Asthma” – asthma case conference
                              Keystone, CO

                2006          Invited Speaker
                              University of Colorado
                              52nd Family Medicine Review
                              “Update on Asthma: Problem Cases”
                              Denver and Estes Park, CO

                2007          Invited Speaker
                              University of Colorado
                              53rd Family Medicine Review
                              “Adult Asthma: Severity vs. Control”
                              Denver and Estes Park, CO

                2007          Invited Speaker
                              Successful Asthma Management in the Urban Setting:
                              Asthma In Defined Populations
                              “Obesity and Asthma”
                              Long Island College Hospital, Brooklyn, NY



                                                                                     20
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 21 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 5




                2007          Invited Speaker
                              American College of Chest Physicians International
                              Conference
                              “Obesity Epidemic: Implications for the Pulmonary, Sleep,
                              and ICU Physician: Physiology of Obesity”
                              Chicago, IL

                2008          Visiting Professor
                              University of Hawaii
                              Honolulu, HI
                              One-week lecture series focused on obesity and asthma

                2009          Invited Speaker
                              American Academy of Allergy Asthma & Immunology
                              Annual Meeting
                              “Obesity and Asthma: Impact on Diagnosis and Therapy”
                              Washington, DC

                2009          Visiting Professor
                              South Dakota School of Mines and Technology
                              Department of Chemical and Biological Engineering
                              Seminar Title: “Chemical Engineers in Medicine: A Heat
                              and Mass Transfer Approach to Exercise-Induced Asthma”
                              October 19-21, 2009
                              Rapid City, SD

                Sept 2010     Invited Speaker
                              2010 Healthcare Forum
                              “Beyond Implementation: The New Leadership Agenda for
                              Lasting EMR Adoption”
                              Talk title: “Ownership”
                              The Breakaway Group
                              Englewood, CO

                May 2011      Invited Speaker - Webinar
                              “Allscripts EHR: The National Jewish Experience”
                              North Shore Long Island Jewish Health System
                              New York, NY

                June 2011     Invited Speaker
                              2011 Healthcare Forum
                              “EMR Adoption: Stepping Up to a National Challenge”
                              Talk title: “The Great Debate: Clinical Documentation”
                              The Breakaway Group



                                                                                       21
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 22 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 6



                                Englewood, CO

                April 2012      Invited Delegate
                                TEDMED 2012
                                The Kennedy Center
                                Washington, DC

                December 2012   Invited Speaker
                                Allscripts Academic User Group Teleconference
                                “Research Informatics at National Jewish Health”

                April 2013      Invited Delegate
                                TEDMED 2013
                                The Kennedy Center
                                Washington, DC

                May 2013        Invited Speaker
                                “Physician Leadership in Health IT Adoption”
                                Colorado Health Information Management Association
                                Spring Meeting 2013
                                Denver, CO

                August 2013     Invited Speaker
                                Colorado Asthma Coalition
                                “Obesity and Asthma”
                                Denver, CO

                May 2014        Xerox Healthcare Midas+ Conference
                                Executive Insights Work Group
                                Tucson, AZ
                                This group of national health care thought leaders
                                convened to examine how healthcare executives create a
                                future state vision for their organizations and how they
                                prioritize their work to achieve sustainable, high-value
                                healthcare tomorrow.

                June 2014       Invited Speaker
                                Colorado Health Information Management Systems Society
                                “Physician Engagement in Health IT Adoption”
                                Denver, CO

                August 2014     Invited Speaker
                                Longmont United Hospital
                                Physician-IT Challenges and Successful Strategies for
                                Physician and IT Partnership



                                                                                        22
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 23 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 7



                                    “Physician Engagement in Health IT Adoption”
                                    Longmont, CO

                November 2014       Invited Speaker
                                    NAMCP/AAIHDS/AAMCN Fall Managed Care Forum
                                    “Best Practices in the Prevention and Management
                                    of COPD”
                                    Las Vegas, NV

                November 2015       Invited Speaker
                                    Best Practice Pharmacotherapeutics in Primary Care: Better
                                    Health, Better Care, Better Cost for Underserved
                                    Populations
                                    “Asthma and COPD”
                                    Aurora, CO

                March 30, 2017      Expert Panel Member
                                    Asthma Roundtable: Gap Analysis on Transitions in Care
                                    Mount Sinai School of Medicine
                                    Mount Sinai National Jewish Health Respiratory Institute
                                    New York, NY

                December 13, 2017   Invited Expert Panelist
                                    Colorado Health Information Management Systems Society
                                    “Addressing Physician Burnout and Improving Physician
                                        Resilience Within the EHR”
                                    Aurora, CO

                October 8, 2018     Invited Speaker and Expert Panelist
                                    Precision Medicine and Severe Uncontrolled Asthma
                                    Dinner Symposium, CHEST Annual Conference
                                    San Antonio, TX

                March 7, 2019       Invited Expert Panelist
                                    Denver Regional Clinical Informatics Summit
                                    Colorado Health Information Management Systems Society
                                    “Innovation”
                                    Aurora, CO

                Fall 2020           Douglas County Virtual Town Hall Meetings
                                    “Coronavirus Q+A with Dr. Beuther”
                                    8/2/2020 and 10/11/2020

                September 5, 2021   Invited Speaker
                                    European Respiratory Society (ERS)



                                                                                          23
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 24 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 8



                                     International Virtual Congress 2021
                                     Satellite Symposium, Relegating Oral Corticosteroids to a
                                     Last Resort in Asthma: How Do We Transform Clinical
                                     Practice?
                                     “Transforming Care in Severe Asthma with PRECISION: a
                                     US Perspective on OCS Stewardship”


 IV.    Professional Societies and Honorary Societies

                1991 – 1997          American Institute of Chemical Engineers

                1999 – 2004          American College of Physicians

                1995 – 2004          American Medical Association

                2002 – Present       American Thoracic Society

                2003 – Present       American College of Chest Physicians

                2010 – Present       American Medical Informatics Association


 V.     Committee Participation and Other Service Activities

        A. Institutional

                2005 – 2015          National Jewish Health
                                     Institutional Review Board
                                     Ad Hoc Consultant Reviewer

                2006 – 2013          National Jewish Health
                                     Continuing Medical Education Committee
                                     I regularly review internal and external CME materials for
                                     content, bias, and conflict of interest.

                2007 – 2013          National Jewish Health
                                     Diagnostics and Therapeutics Committee
                                     Committee Chair
                                     This subcommittee of the MEC is charged with monitoring
                                     patient safety data. As a senior member of the committee, I
                                     have also stepped in to chair the committee on several
                                     occasions.

                2007 – 2014          National Jewish Health



                                                                                             24
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 25 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 9



                                 Electronic Medical Record Steering Committee
                                 Committee Co-Chair
                                 Institutional EMR Physician Champion
                                 Pulmonary Division Representative
                                 I am the physician champion and have played a lead role in
                                 the strategy, design, development, implementation, and
                                 adoption of our EMR, and am responsible for
                                 communicating and translating among Information
                                 Systems, faculty, clinical staff, and NJH administration.

                2009 – 2011      Data Safety Monitoring Committee
                                 “Apoptosis and Defective Repair in COPD”
                                 COMIRB 07-0920

                2009 – 2011      Data Safety Monitoring Committee
                                 “Lovastatin as a Potential Modulator of Apoptosis in
                                 COPD” (NJ IRB HS 2163)

                2009 – present   National Jewish Health
                                 Research Informatics Advisory Committee
                                 Biobank Advisory Committee
                                 My role is to integrate institutional efforts at clinical EMR
                                 adoption and NJH Research Database development.

                2009 – present   National Jewish Health
                                 Medical Records MEC Sub-Committee
                                 Chair, 2011 – present
                                 In addition to setting medical record policy, I have been
                                 working with our HIM director to drive change to more
                                 electronic processes, and to optimize the EMR and the
                                 medical record for the end user.

                2009 – present   National Jewish Health
                                 EMR Governance Committee
                                 Founder and Chair
                                 I created this EMR optimization group in 2009, meeting
                                 twice monthly and now growing to encompass nearly all
                                 clinical information systems and many clinical workflow
                                 re-engineering efforts at NJH. Attendees frequently
                                 describe this committee as, “One of the most productive
                                 meetings I have at NJH,” and, “The place to go to get
                                 answers and get something accomplished.”

                2009 – 2013      National Jewish Health
                                 Clinical Operations Committee



                                                                                             25
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 26 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 10



                                 The focus of this group is on solving complex clinical and
                                 operational problems, where I often play an active role in
                                 analysis and problem solving.

                2010 – present   National Jewish Health
                                 Faculty Awards Committee
                                 Chair, 2011 – present
                                 I lead our production of an annual recognition dinner
                                 event, on behalf of my CEO. I am responsible for leading
                                 the committee that solicits faculty nominations, selects,
                                 awardees, and plans the program.

                2011 – 2013      Data Safety Monitoring Committee
                                 “The effect of an oral antioxidant, N-Acetyl-L-Cysteine, on
                                 inflammatory and oxidative stress markers in pulmonary
                                 sarcoidosis”

                2011 – present   National Jewish Health
                                 Medical Executive Committee

                2011 – 2016      National Jewish Health
                                 Lung Cancer Screening CT Program Working Group
                                 My role has been to assist this group in workflow and
                                 process engineering, and in improving communication with
                                 clinicians in launching a new clinical service.

                2011 – present   National Jewish Health
                                 Patient Portal Steering Committee
                                 Patient Portal Workgroup
                                 I have been integrally involved in the design, development,
                                 and implementation of our internally developed online
                                 patient communication system.

                2011 – 2014      National Jewish Health
                                 Clinical Research Leadership Management Committee
                                 My role in this committee was to assist a re-engineering of
                                 the clinical research processes and management at NJH, to
                                 make the enterprise more efficient. My specific role was to
                                 leverage our information systems to improve clinical trial
                                 enrollment. I have also played a central role in change
                                 management and developing faculty communication
                                 strategies for this project.

                2012 – 2014      National Jewish Health Telephonic Nursing Study
                                 Leader / Principal Investigator



                                                                                         26
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 27 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 11



                                 At the request of our CEO, I designed and executed a
                                 mixed-methods study our telephonic nursing center. Results
                                 were presented to executives and managers. As a direct
                                 result of this study, I was asked to plan and oversee a
                                 comprehensive re-engineering of all telephonic nursing
                                 functions at NJH in late 2013. This project improved
                                 patient and staff satisfaction, improved operational
                                 efficiency, and improved patient care delivery.

                2012 – 2013      National Jewish Health and Exempla St Joseph Hospital
                                 Partnership Opportunity Strategic Work Group
                                 I was a key executive leader representing NJH in strategic
                                 discussions on a potential partnership with ESJH. I helped
                                 assess cultural compatibility, physician integration, and
                                 information technology, among other dimensions. I led a
                                 subgroup that developed the IT strategic plan for the Letter
                                 of Intent. I contributed to similar strategy for Physician
                                 Integration and Quality and Safety. I led an ad hoc work
                                 subgroup to assess the clinical and financial feasibility of
                                 building a separate DSH hospital under the NJH license.

                2012 – 2014      National Jewish Health
                                 Oncology Expansion Strategic Work Group
                                 I participated in a work group and helped lead a strategy
                                 for expanding NJH oncology to community oncology
                                 practices, leveraging our 340B drug pricing. One of my
                                 roles was to lead, with our CIO, a rigorous system
                                 selection process for a new oncology-specific EHR that
                                 would integrate newly purchased community practices with
                                 the NJH enterprise.

                2013 – 2014      National Jewish Health
                                 MEC Ad Hoc Committee: HIV and Hepatitis Screening

                2013 – 2014      National Jewish Health
                                 MEC Ad Hoc Committee: Clinical Documentation Quality
                                 Chair

                2013 – present   National Jewish Health
                                 Adult Clinic Leadership Council
                                 Co-Chair
                                 This group, led by our CMO, comprises the physician
                                 leadership over the entire outpatient adult clinical
                                 operation at NJH. I often informally serve as the assistant
                                 CMO in leading this group in our CMO’s absence, or to



                                                                                          27
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 28 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 12



                                 co-lead our change initiatives and discussions. I often lead
                                 the group in our CMO’s absence, or co-lead our change
                                 initiatives and discussions.

                2013 – 2014      National Jewish Health and Exempla St Joseph Hospital
                                 Partnership Opportunity Definitive Agreement Transition
                                 Operations Integration Team
                                        IT Integration Subgroup
                                        Patient Access Subgroup
                                        Ancillary Service Integration Subgroup
                                        VIP Patient Program Subgroup
                                        Out of State Program Subgroup
                                        Phone Center Subgroup
                                        Clinical Quality Subgroup
                                        340B/DSH Strategy Subgroup
                                        Due Diligence team

                2013 – 2017      Mount Sinai School of Medicine and
                                 National Jewish Health Respiratory Institute
                                 Steering Committee on Ambulatory and Inpatient Program
                                 Development and Integration, Protocol Development, and
                                 Quality and Value Measures

                2014 – 2016      National Jewish Health and Exempla St Joseph Hospital
                                 Partnership
                                 Leadership Team Operations Working Group

                2014 – 2016      National Jewish Health and Exempla St Joseph Hospital
                                 Partnership
                                 IT Strategic Integration Team

                2014 – 2016      EMR Meaningful Use Workgroup
                                 Lead member

                2014 – 2016      PQRS Workgroup
                                 Lead member

                2014 – present   NJH Adult Clinic Re-Engineering and Quality Initiative
                                 Co-leader and “Chief Engineer”
                                 CMO and CMIO partnership to overhaul all outpatient
                                 clinic processes and workflows to improve throughput,
                                 financial performance, care quality, and high reliability
                                 data capture while improving the clinic experience for
                                 providers. This includes evidence-based order sets,
                                 worksheets, checklists, quality dashboards, a faculty



                                                                                             28
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 29 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 13



                                 performance-based compensation model, and developing
                                 new tools and workflows to improve efficiency. I developed
                                 a custom point-of-care patient report card tool that enables
                                 high-reliability outpatient care delivery for key general
                                 health and specialty-specific interventions.

                2014 – 2016      National Jewish Health
                                 Thoracic Surgery Program Strategic Work Group
                                 I was a lead team member responsible for establishing a
                                 new thoracic surgery program in the NJH outpatient clinic
                                 and the NJH-SJH inpatient service, comprising 3 thoracic
                                 surgeons, as well as coordination of care and data between
                                 2 different institutions, care delivery systems, and data
                                 environments.

                2015 – 2017      National Jewish Health
                                 General Surgery Program Strategic Work Group
                                 I am a lead team member responsible for establishing a
                                 new general and foregut surgery program in the NJH
                                 outpatient clinic and the NJH-SJH inpatient service,
                                 comprising 2 general surgeons and one fellowship-trained
                                 foregut surgeon, as well as coordination of care and data
                                 between 2 different institutions, care delivery systems, and
                                 data environments.

                2015 – 2017      National Jewish Health
                                 Pediatric Clinic Leadership Council
                                 Co-Chair
                                 This group, led by our CMO, comprises the physician
                                 leadership over the entire pediatric outpatient clinical
                                 operation at NJH. I often lead the group in our CMO’s
                                 absence, or to co-lead our change initiatives and
                                 discussions.

                2015 – present   National Jewish Health
                                 Adult Clinic Operations Council
                                 Co-Chair
                                 This group, led by our CMO, comprises the management,
                                 nursing, and operational leadership over the entire
                                 outpatient adult clinical operation at NJH. I often
                                 informally serve as the assistant CMO in leading this group
                                 in our CMO’s absence, or co-lead our change initiatives
                                 and discussions.

                2016 – 2017      National Jewish Health



                                                                                            29
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 30 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 14



                                 Neurology and Neuromuscular Subspecialty Program
                                 Strategic Work Group, Member
                                 I was a lead team member responsible for establishing a
                                 new general neurology and neuromuscular disease
                                 program in the NJH outpatient clinic, comprising a
                                 neurologist and new neurodiagnostic testing.

                2016 – 2021      National Jewish Health
                                 Diversity and Inclusion Council
                                 Executive Sponsor, Executive Program Facilitator
                                 I am responsible for supporting, advising, and promoting
                                 an institution-wide D+I council and live training program,
                                 and ensuring executive and leadership buy-in across the
                                 organization. I am also one of two physician trainers
                                 responsible for co-facilitating live, interactive mandatory
                                 training sessions for all NJH executive leaders and faculty.
                                 As of 4/23/21, I have led 10 sessions for faculty, executives,
                                 and key healthcare leaders at NJH and SJH/SCL.

                2016 – 2017      National Jewish Health
                                 Pulmonary Hypertension Program
                                 Strategic Work Group, Chair
                                 I am a lead team member responsible for coordinating and
                                 re-designing a new, collaborative, multispecialty outpatient
                                 and inpatient pulmonary hypertension program at NJH.
                                 This involves adding a new pulmonary component to an
                                 existing cardiology component, coordinating outpatient
                                 and inpatient activities among specialists and between 2
                                 institutions on different systems, improving scheduling and
                                 workflow systems, and measuring quality and outcomes.

                2017             Center for Outpatient Health
                                 New Building Programming Planning Group

                2017 – present   MIPS/MACRA Workgroup
                                 Lead member

                2017 – present   Data Governance Steering Committee
                                 Chair

                2017 – present   Data Governance Workgroup
                                 Co-Chair

                2017 – present   Respiratory Centers of Excellence
                                 Systems Lead



                                                                                            30
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 31 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 15




                2017 – 2019      Inpatient Expansion Leadership Team and Working Group

                2017 – 2021      Center for Outpatient Health
                                 Strategic Planning Group

                2018             National Jewish Health
                                 Soft Lab System Conversion Issue Resolution Team
                                 Co-Chair

                2018 – 2019      National Jewish Health
                                 Interventional Pulmonary Program
                                 Strategic Work Group, Chair

                2018             National Jewish Health / SCL Health
                                 Clinical System Integration Strategy Group
                                 Co-Chair

                2018             National Jewish Health
                                 NTM / ID Out of State Service Strategic Workgroup

                2018 – 2019      National Jewish Health
                                 ALS Program Strategic Work Group
                                 I am a lead team member responsible for establishing a
                                 new, comprehensive, multidisciplinary, certified ALS
                                 program at NJH, to include a new initiative to capture
                                 CMS care coordination charges for longitudinal chronic
                                 care management of this population.

                2019 – present   National Jewish Health
                                 Radiology Appropriate Use Criteria Planning Group

                2020 – present   National Jewish Health
                                 COVID-19 Emergency Operations Leadership Team

                2020 – present   National Jewish Health
                                 COVID-19 Telehealth Strategy and Operations Group
                                 Chair

                2020 – present   National Jewish Health
                                 COVID-19 Clinical Operations Subcommittee

                2020 – present   National Jewish Health
                                 Tent Committee
                                 Expanding SARS-CoV2 Testing and Serology



                                                                                      31
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 32 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 16




                2020 – present   National Jewish Health
                                 Phoenix Committee
                                 Strategic Recovery from the SARS-CoV2 Pandemic

                2020 – present   National Jewish Health
                                 Phoenix Subcommittee: Chronic Disease Management
                                 Chair

                2020             National Jewish Health
                                 Phoenix Subcommittee: Return to Clinic Spirometry
                                 Co-Chair

                2020             National Jewish Health
                                 Phoenix Subcommittee: VIP and Out of State Programs
                                 Chair

                2020             National Jewish Health
                                 Phoenix Subcommittee: Clinical and Patient Care Team
                                 Space Planning Committee and Workgroup

                2020 – present   National Jewish Health / SCL Health
                                 Clinical System Integration Steering and Workgroups
                                 Co-Chair

                2020 – present   National Jewish Health
                                 COVID-19 Therapeutics and Vaccination Committee
                                 NJH Outpatient Infusion Center for COVID Recovery Care
                                 NJH

        B. Departmental

                2008 – 2010      National Jewish Health
                                 Bariatric Surgery Pre-Operative Evaluation Clinic
                                 Program Director
                                 I created and directed a new, evidence-based bariatric
                                 surgery pre-operative evaluation program within the
                                 Department of Medicine, which streamlined the process for
                                 the patients, significantly improved patient and surgeon
                                 satisfaction, and significantly improved the quality and
                                 completeness of the evaluation. This clinic completed 150
                                 new evaluations per year, and was discontinued only when
                                 our dominant referring surgeon sold his practice to a
                                 competing hospital.




                                                                                        32
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 33 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 17



                2011 – 2015           National Jewish Health
                                      Clinical and Translational Research
                                      Ad Hoc Advisory Committee Member

        C. Regional

                2006                  Colorado Clinical Guidelines Collaborative
                                      Adult Obesity Guideline Focus Group
                                      Aug 17, 2006, Denver, CO

                2013 – 2015           Colorado Medical Society
                                      Committee on Physician Practice Evolution
                                      Denver, CO

        D. National / International

                2008                  American Thoracic Society
                                      2008 Ad-Hoc Committee
                                      Obesity and Lung Disease Workshop
                                      Member and Invited Speaker
                                      May 17th, 2008, Toronto, ON, CA.

                2008 – 2016           Allscripts Enterprise EHR Academic User Group
                                      President, 2010-2011
                                      Past-President, 2011-2012
                                      This group is a national, independent user community
                                      charged with sharing best practices, communicating
                                      product and service needs to Allscripts executive
                                      leadership team, and producing white papers on EMR
                                      implementation, use, and adoption specific to the academic
                                      community. We have a monthly conference call and 1-2 live
                                      meetings per year.

                2009 – 2012           Allscripts Physician Advisory Board
                                      Allscripts, Chicago, IL
                                      Responsible for reviewing content and validating software
                                      changes.

                2011 – 2015           The Breakaway Group
                                      Denver, CO
                                      Advisory Board Member
                                      This group uses research-based methods to improve EMR
                                      adoption through improved user education. The advisory
                                      board has one annual formal meeting.




                                                                                             33
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 34 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 18



                2017 – present   AstraZeneca, LLC
                                 US PRECISION National Advisory Board Member
                                 I help to lead the United States component of
                                 AstraZeneca’s international PRECISION program, which
                                 aims to improve the identification and treatment of severe
                                 asthma. In this role, I have participated in or led
                                 components of virtual and in-person national and regional
                                 working groups and advisory boards, made significant
                                 contributions to develop and validate a new composite
                                 asthma control tool, and participated in various other
                                 program activities and advisory roundtables such as study
                                 design, manuscript preparation, implementation, and care
                                 coordination.

                2018             GlaxoSmithKline
                                 Advisory Board Member
                                 I was invited to participate in one national strategic
                                 advisory board on the topic of severe eosinophilic asthma.

                2020 – present   AstraZeneca, LLC
                                 PRECISION International Advisory Board Member
                                 Asthma Control and Optimisation Tool


        E. Community Service

                2008             Medical Director
                                 American Lung Association Run the Republic
                                 3rd Annual Stair Climb
                                 Denver, CO

                2008 – 2015      University of Michigan Medical School
                                 Alumni Volunteer Programs
                                 Welcoming Ambassador
                                 Medical Student / Resident Host Program
                                 Medical Student Mentoring Program

                2013 – 2015      University of Michigan
                                 School of Chemical Engineering
                                 UM Professional Network, Alumni Mentoring Program

                2015-2017        The Denver Auto Show
                                 7th, 8th, and 9th Annual Charity Preview Party
                                 Honorary Chair
                                 Denver, CO



                                                                                         34
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 35 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 19




                2018 – present      Volunteer Assistant Coach
                                    Landsharks Running Club
                                    Redstone Elementary School
                                    Highlands Ranch, CO

                June 2020           Douglas County Schools
                                    Restart and Recovery 2020-2021 Task Force
                                    DCSD Operations Task Force
                                    Volunteer Advisor / Member
                                    Advised Douglas County Schools during their COVID-19
                                    recovery planning process, as both a parent and healthcare
                                    leader, providing medical expertise and evidence as well as
                                    practical experience in navigating complex institutional
                                    decision making during the pandemic, based on my recent
                                    experience leading the National Jewish Health recovery.

                F2020 – S2022       Douglas County Schools
                                    Redstone Elementary School
                                    School Accountability Committee, Member
                                    The SAC is an advisory body comprising parents and
                                    community members, charged with planning and
                                    evaluating the school’s programming, and focused on
                                    quality improvement. Members are elected and serve a 2-
                                    year term.

 VI.    Patents Held or Pending

                (none)

 VII.   Review Activities

                2006 – 2010, 2019   American Journal of Respiratory and Critical Care
                                    Medicine

                2007, 2010          Journal of Allergy and Clinical Immunology

                2007                Clinical and Experimental Allergy

                2009                Nutrition

                2010                American Journal of Epidemiology

                2010                The Physician and Sportsmedicine




                                                                                           35
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 36 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 20



                2011             Thorax

                2012             Obesity

                2012             Fred CA, Haugen HA, and Reilly LK. Beyond Coding:
                                 How ICD-10 Will Transform Clinical Documentation.
                                 Denver: Magnusson Skor; 2012.

                2012             Adler J. 2012 Guide to Incentive Payments. Washington,
                                 DC: NeoVista Health; 2012.

                2014             Current Opinion in Pulmonary Medicine

                2016             Asthma UK Innovation Grants

                2020             Chest

 VIII.   Teaching Activities

                2005 – 2007      National Jewish Health
                                 Ad Hoc / Back-Up Preceptor
                                 Pulmonary Fellow Clinic
                                 Responsible for occasional (4-6 times per year) supervision
                                 of pulmonary fellows in NJH general pulmonary outpatient
                                 clinic

                2008 – present   University of Colorado Denver School of Medicine
                                 MED 8029: Applied Clinical Pharmacology Course
                                 Guest Lecturer, “Asthma Pharmacotherapy”
                                 1 lecture hour per year

                2014 – 2016      University of Colorado Denver
                                 Introduction to Health IT Course
                                 Sponsor/mentor for student group case report

                July 2014        University of Denver
                                 MPS in Healthcare Leadership
                                 HC 4310 – Electronic Health Records Systems
                                 Guest Lecturer
                                 “Physician Engagement in Health IT Adoption”
                                 Denver, CO

                Nov 2014         St. Joseph Hospital
                                 Internal Medicine Residency Noon Conference
                                 “Asthma Therapy”



                                                                                        36
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 37 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 21



                                    Denver, CO

                Dec 2014            St. Joseph Hospital
                                    Family Medicine Residency Noon Conference
                                    “Asthma Therapy”
                                    Denver, CO

                March 2017          Pulmonary Fellow Education Day
                                    Speaker, “Severe Asthma”
                                    Denver, CO

                2016 – present      National Jewish Health
                                    Diversity and Inclusion Council
                                    Executive Training Program Facilitator
                                    I am one of two physician trainers responsible for co-
                                    facilitating live, interactive mandatory training sessions for
                                    all NJH executive leaders and faculty. As of early 2020, I
                                    have led 8 sessions for faculty and executives.

                Feb 26, 2021        University of Denver
                                    HINF 4240 Health Science Data Reporting
                                    Healthcare Leader Interview


 IX.    Research Grants and Contracts

        A. Past Funding

                2006 – 2007         Merck & Co, Inc
                                    Investigator Initiated Studies Program
                                    Principal Investigator
                                    Merck IISP # 31829 / NJH HS-1963
                                    “The effect of bariatric surgery-induced weight loss on
                                    airway inflammation and hyperresponsiveness in obese
                                    subjects with asthma”
                                    Total budget: $75,000

        B. Current Funding

                2020-2021           Colorado Office of eHealth Innovation
                                    COVID-19 Telehealth Project
                                    Principal Investigator
                                    Total budget: $100,000




                                                                                              37
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 38 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 22



 X.     Bibliography

        A.    Peer-Reviewed Journal Publications

 1.     Beuther DA, Martin RJ. Antibiotics in asthma. Current Allergy and Asthma Reports
        4(2):132-8, 2004. [PMID:14769262]

 2.     Martin RJ, Beuther DA, Nonas SA, Cooke JR. Anti-IgE Therapy: Meeting the Unmet
        Need in Asthma Therapy. The Respiratory Report 1(1):4-10, 2005.

 3.     Beuther DA, Sutherland ER. Obesity and pulmonary function testing. JACI 115(5):1100-
        1, 2005. [PMID:15867878]

 4.     Janssen WJ, Bierig LN, Beuther DA, Miller YE. Stridor in a 47-year-old man with
        inflammatory bowel disease. Chest 129(4):1100-1106, 2006. [PMID:16608963]

 5.     Beuther DA, Martin RJ. Efficacy of a heat exchanger mask in cold exercise-induced
        asthma. Chest 129(5):1188-1193, 2006. [PMID:16685008]

 6.     Beuther DA, Weiss ST, Sutherland ER. Pulmonary Perspectives: Obesity and Asthma.
        Am J Respir Crit Care Med. 174(2):112-119, 2006. [PMID: 16627866]
        **As of 9/1/2019, this paper has received 300 citations.

 7.     Beuther DA, Sutherland ER. Overweight, obesity and incident asthma: a meta-analysis of
        prospective epidemiologic studies. Am J Respir Crit Care Med. 175(7):661-666, 2007.
        [PMID 17234901]
        **Note: In 2017, Web of Science awarded this paper as Highly Cited, for being in the top
        1% most cited papers in academic clinical medicine. Also in 2017, at the journal’s 100th
        anniversary, this paper was noted as being among the top 100 most cited papers of all
        time in our leading journal, Am J Respir Crit Care Med, with 432 citations. As of
        9/1/2019, this paper has received 664 citations.

 8.     Sutherland ER, Goleva E, Strand M, Beuther DA, Leung DY. Body Mass and
        Glucocorticoid Response in Asthma. Am J Respir Crit Care Med. 178(7):682-687, 2008.
        [PMID: 18635892]
        **As of 9/1/2019, this paper has received 200 citations.

 9.     Beuther DA. Hypoventilation in Asthma and Chronic Obstructive Pulmonary Disease.
        Seminars in Respiratory and Critical Care Medicine. 30(3):321-329, 2009. [PMID:
        19452392]

 10.    Beuther DA. Recent Insight Into Obesity and Asthma. Current Opinion in Pulmonary
        Medicine. 16:64-70, 2010. [PMID: 19844182]




                                                                                             38
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 39 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 23



 11.    Rollins DR, Beuther DA, Martin RJ. Update on Infection and Antibiotics in Asthma.
        Curr Allergy Asthma Rep. 10:67-73, 2010. [PMID: 20425516]

 12.    Dixon AE, Holguin F, Sood A, Salome CM, Pratley RE, Beuther DA, Celedón JC, and
        Shore SA. An Official American Thoracic Society Workshop Report: Obesity and
        Asthma. Proc Am Thorac Soc 7:325-335, 2010. [PMID: 20844291]
        **As of 9/1/2019, this paper has received 221 citations.

 13.    Murphy KR, Chipps B, Beuther D, Wise R, McCann W, Gilbert I, Eudicone JM, Gandhi
        H, Harding G, Coyne KS, Zeiger RS, on behalf of the US PRECISION Advisory Board.
        Development of the Asthma Impairment and Risk Questionnaire (AIRQ): A Composite
        Control Measure. J Allergy Clin Immunol Pract. 2020;8(7)P2263-2274.E5. [PMID:
        32387166] https://pubmed.ncbi.nlm.nih.gov/32387166/

        B.    Book Chapters, Invited Articles, and Non-Peer Reviewed Articles

 1.     Beuther DA, Martin RJ. Sleep in the respiratory disorders: asthma. Encyclopedia of
        Sleep Medicine. Editor Teofilo Lee-Chiong. John Wiley and Sons, Inc. New Jersey,
        Chapter 88, pp. 669-676, 2006.

 2.     Beuther DA, Martin RJ. Sleep in the respiratory disorders: asthma. Sleep: A
        Comprehensive Handbook. Editor Teofilo Lee-Chiong. John Wiley and Sons, Inc. New
        Jersey, Chapter 35, pp. 181-183, 2009.

 3.     Beuther DA. Obesity and Asthma. Clinics In Chest Medicine. 30(3):479-488, Sept 2009.
        [PMID: 19700046]

 4.     Beuther DA. Hemoptysis. Oxford American Handbook of Pulmonary Medicine.
        Editors Kevin K. Brown and Teofilo Lee-Chiong. Oxford University Press, November
        2009.

        C.    Other Publications, Reports, Commentary, Editorials, and Policy Papers

 1.     Beuther DA, Juarez CB, Murphy J, Gottschall EB, Brown KK, and Cott GR. Underlying
        Pulmonary Diagnosis Does Not Predict Outpatient Bronchoscopy Complications or
        Adverse Clinical Outcomes at a National Referral Medical Center. Submitted but not
        published. Presented internally at National Jewish Health, 2007.

 2.     Canham EM, Beuther DA. Interpreting Arterial Blood Gases. Pulmonary and Critical
        Care Update, Volume 21 Lesson 3, American College of Chest Physicians, 2007.

 3.     Bikowski R and Beuther DA On Behalf of the Touchworks Academic User Group. Order
        and Result Functionality and Workflows with Learning/supervised Providers in an
        Academic Setting. Distributed online March 2010




                                                                                             39
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 40 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 24



 4.     Beuther DA, Radojicic C, and Pataka A. Evaluation of Acute Pulmonary Infiltrates. BMJ
        Point of Care Learning Module, released June 25, 2010.
        http://learning.bmj.com/learning/module-intro/.html?moduleId=10015420

 5.     Beuther DA. The Relationship Between Obesity and Asthma. Chapter 76, commentary
        on: Camargo CA, Weiss ST, Zhang S, Willett WC, and Speizer FE. Prospective study of
        body mass index, weight change, and risk of adult-onset asthma in women. Arch Intern
        Med 159:2582-8. 1999. Editors Sheikh A, Platts-Mills T, Worth A. Landmark Papers in
        Allergy: Seminal Papers in Allergy with Expert Commentaries. 2013. Oxford University
        Press, United Kingdom, pp 248-250. ISBN 978-19-965115-9.

 6.     Mostashari F, Lanning J, Mahn-DiNicola VA. Continuing the Conversation: Healthcare
        Transformation and a Model for Strategic Stability. Xerox Corporation industry
        publication, 2014. Content contributor.

 7.     Beuther DA, Krishnan JA. Finding Asthma: Building a Foundation for Care and
        Discovery. Am J Respir Crit Care Med. 196(4):401-2, 2017.


        D.    Scientific Abstracts Published or Presented

 1.     Beuther DA, Martin RJ. Efficacy of a heat exchanger mask in the mitigation of cold
        exercise-induced asthma: A Pilot Study. Poster presentation, American Thoracic Society,
        International Conference, May 2004.

 2.     Beuther DA, Chu HW, Martin RJ. Human bronchial epithelial cells augment IL-8
        production in response to mechanical stress. Poster presentation, American Thoracic
        Society, International Conference, May 2004.

 3.     Beuther DA, Goleva E, Sutherland ER, Martin RJ, Leung DYM. Obesity is associated
        with glucocorticoid resistance in asthma. Poster presentation, American Thoracic Society,
        International Conference, May 2007.

 4.     Beuther DA, Martin RJ, Sutherland ER. Asthma is associated with elevated C-reactive
        protein in obesity. Poster presentation, American Thoracic Society, International
        Conference, May 2007.

 5.     Beuther DA, Martin RJ, Sutherland ER. Impact of obesity on disease-specific measures
        of asthma control and quality of life. Poster presentation, American Thoracic Society,
        International Conference, May 2007.

 6.     Peters MC, Beuther DA, and Sutherland ER. Lung Function, Inflammation, and
        Symptoms in Morbid Obesity. Poster presentation, American Thoracic Society,
        International Conference, May 2009.




                                                                                              40
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 41 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 25



 7.     Reibman J, Harding G, Beuther D, Gilbert I, Olajide IR, Chung Y, Coyne K, Ross M,
        Reyes R, George M, Murphy K. Developing a Point-of-Care Screening and Evaluation
        Tool to Identify and Treat Severe Uncontrolled Asthma. Poster presentation, American
        College of Chest Physicians CHEST 2018, October 2018.

 8.     Subramanian S, Singh S, Eudicone JM, Gilbert I, Gandhi H, Harding G, Ross M, Beuther
        D. Implementation of the US Asthma Impairment & Risk Questionnaire (AIRQTM) and
        AircompassTM Tools in Clinical Practice. Poster presentation, American College of Chest
        Physicians CHEST 2019, October 2019.

 9.     Reibmam J, Chipps B, Zeiger RS, Beuther DA, Wise RA, McCann W, Gilbert I,
        Eudicone JM, Gandhi HN, Harding G, Coyne KS, George M, Murphy KR. The
        Relationship Between Asthma Control as Measured by the Asthma Impairment and Risk
        Questionnaire (AIRQTM) and Health-Related Quality of Life (HRQoL). Am J Respir Crit
        Care Med. 2020;201(Suppl):A3023.

 10.    Beuther DA, Dunn RM, Zelarney P, Everett DC, Wechsler ME. Performance of a Rules-
        Based, Electronic Health Record-Driven Severe Asthma Case Finding Algorithm for
        Clinical Trial Recruitment. Poster Presentation, American Thoracic Society International
        Conference, May 2020.

 11.    Chipps B, Zeiger RS, Beuther DA, Reibman J, Wise RA, McCann W, Gilbert I, Eudicone
        JM, Gandhi HN, Harding G, Cutts K, George M, and Murphy KR. Clinical
        Characteristics and Disease Control of US Asthma Patients Treated in Specialty Clinics.
        Poster presentation, ERS International Congress, September 2020.

 12.    Murphy KR, Zeiger RS, Beuther DA, Reibman J, Wise RA, McCann W, Gilbert I,
        Eudicone JM, Gandhi H, Coyne KS, Ross M, George M, and Chipps B. Assessment of
        Asthma Morbidity by US Patients, Specialists, Asthma Control TestTM, and Asthma
        Impairment and Risk QuestionnaireTM. Poster presentation, ERS International Congress,
        September 2020.

 13.    Chipps B, Murphy KR, Beuther DA, Reibman J, Wise RA, McCann W, Gilbert I,
        Eudicone JM, Gandhi HN, Coyne KS, Cutts K, George M, and Zeiger R. Confirmatory
        Cross-Sectional Validation of the Asthma Impairment and Risk Questionnaire (AIRQTM).
        Poster presentation, CHEST Annual Meeting, October 2020.

 14.    Chipps B, Murphy KR, Wise RA, McCann W, Beuther DA, Reibman J, George M,
        Gilbert I, Eudicone JM, Gandhi HN, Harding G, Ross M, Zeiger RS. Evaluating
        Performance of the Asthma Impairment and Risk Questionnaire (AIRQTM) at 3-month
        Intervals. Poster presentation, American College of Allergy, Asthma & Immunology;
        online November 13-15, 2020.

 15.    Beuther DA, Murphy KR, Zeiger RS, Wise RA, McCann W, Reibman J, George M,
        Gilbert I, Eudicone JM, Gandhi HN, Ross M, Coyne KS, Chipps B. Baseline Asthma



                                                                                             41
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 42 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 26



        Impairment and Risk Questionnaire (AIRQTM) Control Level is Associated with Future
        Risk of Exacerbations. Poster presentation, AAAAI Annual Meeting; online February 26
        – March 1, 2021.

 16.    McCann W, Reibman J, Chipps B, Zeiger RS, Beuther DA, Wise RA, Gilbert I, Eudicone
        JM, Gandhi HN, Ross M, Coyne KA, Murphy KR, George M. Evaluating the
        Performance of the Asthma Impairment and Risk Questionnaire (AIRQTM) in Primary
        and Specialty Care. Poster presentation, American Thoracic Society International
        Conference, May 2021.

 17.    Beuther DA, Murphy KR, Zeiger RS, Wise RA, McCann W, Reibman J, George M,
        Gilbert I, Eudicone JM, Gandhi HN, Ross M, Coyne KS, and Chipps B. Assessing the
        Asthma Impairment and Risk Questionnaire’s Ability to Predict Exacerbations. Poster
        presentation, European Respiratory Society Annual Meeting, September 2021

 18.    Wise RA, Chipps B, Murphy KR, Beuther DA, Reibman J, McCann W, Gilbert I,
        Eudicone JM, Gandhi HN, Harding G, Cutts K, George M, Zeiger RS. Reproducibility of
        the Asthma Impairment and Risk Questionnaire (AIRQTM). Poster presentation, CHEST
        Annual Meeting, October 2021.

 19.    Murphy KR, Chipps B, Wise RA, Beuther DA, George M, McCann W, Zeiger RS,
        Gilbert E, Eudicone JM, Gandhi HN, Harding G, Ross M, and Reibman J. Asthma
        Impariment and Risk Questionnaire (AIRQTM) at Baseline Predicts 12-Month Health-
        Related Quality of Life (HRQoL). Poster presentation, American College of Allergy,
        Asthma, & Immunology Annual Meeting, New Orleans, LA, Nov 4-8 2021.

        E.    Guest Editorships

 1.     Dela Cruz C, Beuther DA, Matthay RA. Obesity and Respiratory Disease. Clinics In
        Chest Medicine. 30(3), Sept 2009.

        F.    Complete List of Published Works in MyBibliography

 https://www.ncbi.nlm.nih.gov/sites/myncbi/1L_6dtaq0rTAO/bibliography/51803646/public/?sort
 =date&direction=ascending

 XI.    Interaction with Pharmaceutical Industry

                2006 – 2007          Merck & Co, Inc
                                     Investigator-Initiated Research Grant Program

                2009 – 2016          AstraZeneca, Inc
                                     Speaker Program

                2010 – 2013          Merck & Co, Inc



                                                                                              42
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 43 of 45

 David A. Beuther, M.D.
 Curriculum Vitae
 Page 27



                                 Speaker Program

                2017 – present   AstraZeneca, Inc
                                 National Advisory Board

                2018             GlaxoSmithKline
                                 National Advisory Board

                2020 – present   AstraZeneca, Inc
                                 PRECISION Global Advisory Board
                                 Severe Asthma Centers of Excellence Working Group




                                                                                     43
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 44 of 45




                                                                          44
Case 1:21-cv-02818-JLK Document 3-2 Filed 10/20/21 USDC Colorado Page 45 of 45




                                                                          45
